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                                                Attorney for Proposed Intervenor-Defendan
                                                Matanuska Telephone Association, Inc

                                                                                                                   IN THE UNITED STATES DISTRICT COURT
                                                                                                                     FOR THE DISTRICT OF ALASK

                                                ALASKA RAILROAD CORPORATION,

                                                                                                         Plaintiff

                                                                                                         vs

                                                FLYING CROWN SUBDIVISION
                                                ADDITION NO. 1 AND ADDITION
                                                NO. 2 PROPERTY OWNERS
                                                ASSOCIATION,

                                                                                                         Defendant,

                                                                                                         an

                                                ALASKA PIPELINE COMPANY,
                                                and ENSTAR NATURAL GAS
                                                COMPANY, a division of SEMCO
                                                Energy, Inc.                                                                                                         )   Case No. 3:20-cv-00232-JM
                                                                                                                                                                     )
                                                                                             [Proposed
                                                                                             Intervenor-Defendants,


                                                MEM. IN SUPPORT [PROPOSED] INTERVENO
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                                      and

          MATANUSKA TELEPHONE
          ASSOCIATION, INC.,

                                [Proposed]                                            )
                                Intervenor-Defendant.


                 MEMORANDUM OF MATANUSKA TELEPHONE ASSOCIATION, INC
                          IN SUPPORT OF MOTION TO INTERVEN
                     AS A DEFENDANT IN THE ABOVE-CAPTIONED CAS

                       Matanuska Telephone Association, Inc. including its wholly-owned subsidiaries

          MTA Communications, LLC, and MTA Fiber Holdings, LLC (collectively, "intervenor-

          defendant MTA") has moved for the Court's permission to intervene as a defendant in

          this action, pursuant to Federal Rule of Civil Procedure 24. This Memorandum of Law is

              led in support of MTA's Motion to Intervene

                                                                                       I
                                                                                 INTRODUCTION

                       MTA is an Alaska cooperative corporation that provides public utility services in

          the form of telephone and other telecommunications services in the Alaska "Railbelt"

          area, north to the Fairbanks, Alaska area, and east to the Alaska-Canada border.1                    MTA

          has an immediate and continuing interest in the correct legal interpretation of the



          1   MTA’s wholly-owned subsidiaries are not themselves cooperative corporations.
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easement rights claimed by the Alaska Railroad Corporation ("ARRC") under the 1914

federal right-of-way easement reservation (the "1914 Easement")2, and under the Alaska

Railroad Transfer Act of 1982 ("ARTA").3 Where MTA's lines and facilities crossed the

1914 easement (either overhead or underground), or were parallel and lay buried within

it, MTA had, since its founding in 1953, coordinated its installations and activities with

the federal Alaska Railroad under "blanket" co-location permits from the Railroad, at a

reasonable annual charge.4

           MTA has always believed, and has acted on its belief, that its right to occupy and

use up to a 50-foot-wide easement for telecommunications purposes, within the overall

100-foot-wide railroad right-of-way reserved in the 1914 Easement, is co-extensive with

the rights of the Railroad, subject only to the health, safety and operational concerns of

both the Railroad and MTA.5 The 1914 federal easement reservation stated

                  Terminal and station grounds and rights of way through the lands of the
           United States in the Territory of Alaska are hereby granted for the construction of
           railroads, telegraph and telephone lines authorized by this Act, and in all patents
           for lands hereafter taken up, entered or located in the Territory of Alaska there
           shall be expressed that there is reserved to the United States a right of way for the

2Section 1 of the Act of March 12, 1914 (codi ed at 43 U.S.C. §§ 975c and 975d); 38
Stat. 305, repealed by ARTA, Pub. L. 97-468, Title VI, § 615(a)(1).
3   45 U.S.C. Sec. 1201, et seq., Pub. L. 97-468, 96 Stat 2556 (Jan 14, 1983).
4   Page 2, Declaration of Eric Anderson, attached.
5   Id., p. 3.
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          construction of railroads, telegraph and telephone lines to the extent of one
          hundred feet on either side of the center line of any such road and twenty- ve feet
          on either side of the center line of any such telegraph or telephone lines, and the
          President may, in such manner as he deems advisable, make reservation of such
          lands as are or may be useful for furnishing materials for construction and for
          stations, terminals, docks, and for such other purposes in connection with the
          construction and operation of such railroad lines as he may deem necessary and
          desirable

          The expense of the annual permits obtained by MTA from the Railroad were, and

will be, ultimately borne by MTA's rate-payers and member-owners. When the Railroad

was federally owned, and up through expiration of the Railroad's last 20-year blanket

permit in 2002, the cost to MTA of the annual blanket co-location permit was a

reasonable one.6

          However, after enactment of the ARTA transfer legislation in 1983, and upon

expiration of the federal Railroad's last permit with MTA in 2002, ARRC has demanded

that MTA pay, for its annual telephone utility co-location permits, fees totaling hundreds

of thousands of dollars.7 In responding to MTA's strenuous objections to these new co-

location permit and rental fees, ARRC has asserted its right to assess these drastically-

increased fees against MTA because ARRC claims to hold an "exclusive-use" easement

solely for railroad purposes under the 1914 Act and ARTA.                         The reservation was


6   Id.
7   Id., p. 4.
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implemented, under the 1914 Easement Act, through individual reservations in the

patents of land out of federal ownership. These 1914 Easement reservations were, after

1983, conveyed to ARRC under ARTA.                     These are fundamentally the same legal

circumstances regarding the scope and transfer of the 1914 Easement that ARRC is

seeking to con rm through its present lawsuit against Flying Crown

          Therefore, the legal questions raised in this case involve the purpose and scope of

both the 1914 Easement and the ARTA legislation.                   Resolution of these issues will

directly affect all other landowners and occupants (including MTA) whose properties or

facilities lie anywhere within the 200-foot-wide 1914 Easement right-of-way from

Seward, Alaska, to Fairbanks, Alaska and its environs.

          After the expiration of MTA's last 20-year blanket co-location permit from the

federal Railroad in 2002, MTA has resisted paying the drastically-increased new annual

fees ARRC has demanded, and it has in correspondence disputed ARRC's interpretation

of its claimed "exclusive-use" easement for railroad purposes under the 1914 Easement

and ARTA.8 This controversy is directly related to the blanket "exclusive-use" easement

claim for its right-of-way that ARRC is asserting against Flying Crown in the present




8    See Exhibits A through G to Declaration of Eric Anderson, attached.
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          litigation.        MTA should be allowed to intervene to defend its own interests against

          ARRC's broad and exclusive interpretation of its statutory easement right

                                                               II
                                                      FACTUAL BACKGROUND

                     MTA owns and operates approximately 6,600 miles of telephone cables and

          related telecommunications facilities, extending generally from Eagle River, Alaska to

          and beyond Fairbanks, Alaska, along the "Railbelt."9 MTA serves approximately 32,000

          customers, most of whom are member-owners of the cooperative corporation.10

                     At numerous locations along the Railbelt, MTA's lines and facilities either cross,

          or lie within, the 1914 Easement.                   Some of MTA’s facilities at these locations of

          convergence are installed on the surface, while most are buried underground. MTA has

          always asserted that its co-location rights within the overall 1914 Easement are assured

          by that Easement's stated purposes as being for "railroad, telephone, and telegraph"

          uses.11          Since the founding of MTA in 1953, the utility had obtained, from the federal




          9   Declaration of Anderson, p. 2.
          10   Id.
          11   Id., p. 3

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     Railroad, permits to coordinat the co-location and installation of MTA's telephone

     communications facilities within the overall 1914 Easement.12

                After enactment of ARTA, ARRC has asserted that it has the right to drastically

     increase its co-location permit fees from MTA, becoming essentially annual “rentals,”

     under its asserted claim to an "exclusive-use" easement solely for railroad purposes

     throughout the entire 1914 Easement. After ARTA's enactment and the expiration of

     MTA's last blanket permit from the federal Railroad, ARRC's has asserted new annual

     fees against MTA on essentially a "per facility" basis, which has drastically increased

     MTA's claimed nancial obligation for the co-location of its telephone facilities within

     the 1914 easement.13 ARRC's nancial claims against MTA appear to spring from its

     assertion that ARTA has required the United States to convey to the state railroad, at a

     minimum, an exclusive-use easement for the railroad right-of-way, under ARTA at 45

     U.S.C.        §§ 1202(6) and 1203(b). ARRC in the present litigation is seeking judicial

     con rmation of its claim to an exclusive-use easement for railroad purposes on lands that

     are not only subject to unresolved Native claims under ANCSA,14 and federal lands


     12   Id., p. 2.


     13   Id., p. 4.


     14   ARTA, §1205(b).
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          within Denali National Park,15 but also as to those lands conveyed out of federal

          ownership in the many decades prior to ARTA, but which were originally made subject to

          the 1914 easement reservation.16 This reservation for “railroad, telephone nd telegraph”

          purposes was of course implemented in many land conveyances, and long before ARTA

          was enacted.

                                                                            III
                                                                         ARGUMENT

                A. MTA has a right to intervene to challenge AARCs' clam to an exclusive-
          use easement over 1914 Easement lands

                    Under Federal Rule of Civil Procedure 24(a)(2), an applicant is entitled to

          intervene as a matter of right where the participation it seeks has met four criteria: (1) the

          application is timely; (2) the applicant has a “signi cantly protectable” interest relating to

          the property or transaction that is the subject of the action; (3) the applicant is so situated

          that disposition may, as a practical matter, impair or impede its ability to protect that

          interest; and (4) the applicant’s interest is not adequately represented by the original




          15    ARTA, § 1203(b)(1)(D).
          16Section 1 of the Act of March 12, 1914 (codi ed at 43 U.S.C. §§ 975c and 975d); 38
          Stat. 305, repealed by ARTA, Pub. L. 97-468, Title VI, § 615(a)(1).
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     parties to the action.17 A liberal policy favoring intervention is to serve both the ef cient

     resolution of issues before the court, and a broadened access to the courts.18

               In the present litigation, MTA is entitled as of right to intervene to protect its

     property interests that are intimately bound up with ARRC's claim to an exclusive-use

     easement for railroad purposes over all of the 1914 Easement lands. MTA's motion to

     intervene is timely, because this litigation is at its early stage.               No discovery has

     commenced, no dispositive rulings have been entered, and no delay prejudicial to either

     the plaintiff or defendant Flying Crown will occur. The intervention application of one

     intervenor-defendant that is already asserting such status (ENSTAR) is presently

     pending.19

               As stated in the Declaration of Eric Anderson, the monetary claims made by

     ARRC against MTA for the coordination of MTA's facilities within the 1914 Easement

     arise from the same source as ARRC's claims against defendant Flying Crown -- its

     assertion of an "exclusive-use" easement for railroad purposes arising under the 1914 Act



     17Wilderness Society v. U. S. Forest Service, 630 F.3d 1173, 1176 (9th Cir. 2011); United
     States v. City of Los Angeles, 288 F.3d 391, 397 (9th Cir. 2002).

     18   Id. at p. 1179 (quoting U. S. v. City of Los Angeles, id., at 396-99.
     19See ENSTAR's Motion to Intervene as defendant, and supporting lings, December 16,
     2020, Docket No. 25.
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and ARTA. MTA has a protectable legal interest in the outcome of the present litigation.

Its interest in the security of its lines and facilities will be impaired if it is not permitted to

intervene, and ARRC proceeds to litigate to conclusion its exclusive-use claim that in fact

affects all of the 1914 Easement, from Seward to beyond Fairbanks                    -- including

Easement lands in which MTA has a very substantial operational and nancial stake.20

          1. MTA's intervention is timely

          At this early stage of the proceedings, the issue of timeliness should not pose an

impediment to MTA's joinder as an intervenor-defendant. Timeliness is to be determined

by the totality of the circumstances facing the would-be intervenors.21 “[T]he crucial date

for assessing the timeliness of a motion to intervene is when proposed intervenors should

have been aware that their interests would not be adequately protected by the existing

parties."22

          In weighing the timeliness requirement, the courts focus on three primary factors:

the stage of the proceedings, any prejudice to other parties, and the reason for and length




20   See Declaration of Eric Anderson, id.
21   Smith v. Los Angeles Uni ed School. Dist., 830 F.3d 843, 854 (9th Cir. 2016).


22   Smith v. Marsh, 194 F.3d 1045, 1052 (9th Cir. 1999).
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of any delay.23 No dispositive or issue-limiting rulings have yet been issued in this case,

thus making MTA's intervention entirely appropriate at this early stage in the litigation.24

             ARRC has led a very early motion for summary judgment on all issues, and has

moved to stay any discovery by Flying Crown, and any discovery-related deadlines,

including the deadline for                 ling a joint scheduling and planning conference report.25

Defendant Flying Crown has responded by moving under Federal Rule of Civil

Procedure 56(d) to defer brie ng and ruling on ARRC's summary judgment motion until

some discovery has been permitted.26 Flying Crown's motion correctly raises the fact

that ARRC's attempt to obtain a speedy ruling on its fundamental legal claim

demonstrates ARRC's "intent to establish its rights in this case [that] will have far-

reaching effects," which should not be resolved "lightly or hastily."27 One of these "far-

reaching effects" is the legal determination about ARRC's claimed "exclusive-use"

railroad easement, a determination in which MTA also has a vital interest

23   Smith v. Los Angeles, id. at 854.
24   See, e.g., Abdurahman v. Alltran Financial, LP, 330 F.R.D. 276, 280 (S.D. Cal. 2018)


 Docket 16, Mot. to Stay Discovery Pending Resolution of Mot. for Summary Jdmt.,
25

Dec. 3, 2020.
26Docket 21, Def.’s R. 56(d) Mot. to Defer or Deny Pl.’s Mot. for Summ. J., Dec 11,
2020.
27   Id., at p. 2.
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         Flying Crown's 56(d) motion has been argued, and is presently pending before the

Court. Also pending is intervenor-applicant ENSTAR's motion. At this early stage in the

litigation, the intervention that MTA is now seeking will not interfere with any adopted

pre-trial schedule. If Flying Crown’s Rule 56(d) motion is eventually denied, MTA's

intervention may cause a minimal delay for summary judgment brie ng, in order to allow

reasonable time for MTA (as well as ENSTAR), as intervenor-defendants to prepare their

own opposition briefs.

         If the Court were to allow intervention at this stage, this decision would not

prejudice either of the original parties, nor intervenor-applicant ENSTAR.28       Existing

parties are not prejudiced by the mere prospect that intervention may “prolong the

litigation,” or even make its resolution more dif cult.29 MTA's intervention will permit a

more complete discussion about the scope and effect of ARRC's "exclusive use" legal

claims. This is particularly true with regard to MTA's intervention, because MTA, a

telephone utility, was a co-designee to use the 1914 Easement under the original 1914

statutory reservation.


28Spangler v. Pasadena City Bd. of Education, 552 F.2d 1326, 1329 (9th Cir. 1977); see
also Smith, 830 F.23d at 857 (the court noting that prejudice is the most important factor
in considering the timeliness of an intervention).
29   Smith v. Los Angeles, 830 F.3d at 857.

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              MTA's involvement will bring into clear relief ARRC's claim that the 1914

     Easement and ARTA have granted it an "exclusive-use" easement for railroad purposes

     only. Examining this claim from MTA's position will in no way prejudice the Railroad’s

     ability to litigate its own assertions.         However, if intervention is denied to MTA, the

     utility's own right to litigate its contrary position will be prejudiced if the lawsuit reaches

     a conclusion without MTA's counter-arguments being weighed as a part in that

     conclusion.      Further, when determining if intervention might cause undue delay or

     prejudice, the Court should consider the desirable factor of promoting judicial

     economy.30 Weighing MTA's position as a co-occupant and designee under the 1914

     Easement will lead to a more complete resolution of ARRC's claim to an exclusive-use

     easement, with multiple parties adversely affected by that claim all participating in the

     same action

              MTA is seeking intervention within a reasonable period of time after it became

     aware of the pending litigation, and of ARRC's attempt (acting on its legal allegations,

     evident from its earlier correspondence with MTA),31 to seek broad judicial con rmation

     of its claim to an "exclusive-use" easement for railroad purposes. ARRC's Complaint

      See Venegas v. Skaggs, 867 F.2d 527, 531 (9th Cir. 1989), aff’d sub nom., Venegas v.
     30

     Mitchell, 495 U.S. 82 (1990); Austell v. Smith, 634 F. Supp. 326, 335 (W.D.N.C. 1986).


     31   See Attachments A through G to Declaration of Eric Anderson.
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          was led in late September, and Flying Crown’s Answer was led in mid-November.

          ARRC's summary judgment motion came very shortly thereafter, on November 20.

                        The timeliness of a party's intervention in a particular case must be evaluated

          under the totality of the circumstances in any given case. The Ninth Circuit Court of

          Appeals has held a party’s intervention to be timely when it was applied for a year after

          changed circumstances could have prompted its motion to intervene, but mere weeks

          after it de nitively learned that its interest was not adequately represented.32 Therefore,

          an intervenor has a reasonable interval of time to review the totality of the circumstances,

          in order to determine if the effects of these circumstances, and the existing parties’

          positions in the litigation, support its application to intervene.

                        In the present instance, MTA is acting promptly. MTA needed to review the

          existing parties’ pleadings, and the stated position of intervenor-applicant ENSTAR,

          before concluding that its own intervention in this litigation was necessary. MTA has

          sought to intervene quite early in the proceedings -- before any discovery has

          commenced, before any scheduling and planning conference has occurred, and before

          any responsive brie ng on ARRC's motion for summary judgment has been ordered.

          Under the totality of these circumstances, MTA's application to intervene is timely.


          32   Smith, 830 F.3d at 854, 859-60.

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                   B. MTA has a signi cant, protectable property interest in the 1914 Easement,

     and its ability to protect that interest may be impaired if its intervention is not

     granted

                   When federal courts are asked to determine whether a party has an adequate

     interest to support intervention as a matter of right, they follow “practical and equitable

     considerations” by construing Federal Rule 24(a)(2) “broadly in favor of proposed

     intervenors.”33 No speci c, quanti able minimum legal or equitable interest is required

     to support such intervention, and the interest test “is primarily a practical guide to

     disposing of lawsuits by involving as many apparently concerned persons as is

     compatible with ef ciency and due process.“34                 "It is generally enough that the

     [intervenor's] interest is protectable under some law, and that there is a relationship

     between the legally protected interest and the claims at issue.”35

                   MTA’s legally protected interests are directly affected in this suit by ARRC's

     claim to an exclusive-use railroad easement throughout the 1914 right-of-way. In the

     same manner that ARRC is relying on a claimed exclusive-use easement in its quiet title


     33   Wilderness Society, 630 F.3d at 1179 (quoting City of Los Angeles, 288 F.3d at 397).
     34Id. (quoting County of Fresno v. Andrus, 622 F.2d 436, 438 (9th Cir. 1980)); County of
     Fresno v. Andrus, 622 F.2d 436, 438 (9th Cir. 1980).
     35Id. (quoting Sierra Club v. Envt’l Protection Agency, 995 F.2d 1478, 1484 (9th Cir.
     1993)).
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action against Flying Crown, ARRC has insisted that MTA obtain an annual permit

(whose rental cost is to be calculated at near-fee interest rates and on a facility-by facility

basis) to occupy any part of the 1914 Easement.36 MTA has a protectable legal interest in

extending its telephone lines across or parallel to the tracks, overhead or buried, pursuant

to a co-occupancy right that the 1914 Easement speci cally reserved

           If the Court permits this lawsuit to mov forward to decision without MTA's

participation, that disposition will impair or impede MTA’s ability to protect its interest as

a co-occupant under the 1914 Easement. Without an authoritative judicial interpretation,

it is clear that ARRC intends to continue asserting its claim to an exclusive-use easement,

solely for railroad purposes, against private landowners, public utilities, municipalities,

and even telephone companies that were granted speci c recognition in the 1914

Easement.       Such an outcome will require MTA to obtain permits for its telephone

facilities located within the Easement that will cost it -- and ultimately its rate-payers and

member-owners -- hundreds of thousands of dollars annually, based on the market value

of ARRC’s claimed “exclusive-use” easement, in order to coordinate the placement and

operation of MTA's facilities within the 1914 Easement.37




36   Declaration of Anderson, id.
37   Id.
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              The fact that MTA has no facilities or equipment located within the Flying Crown

     lands (over which it and ARRC is presently litigating) is not a bar to MTA's intervention.

     All entitles that must interact with ARRC and are unavoidably confronted with its

     claimed "exclusive-use" railroad easement, throughout the entire "Railbelt" extent of

     ARRC's trackage, are in all important respects similarly situated to Flying Crown in the

     present litigation. MTA should be permitted to intervene based on its “practical interest

     in the outcome of a particular case."38 MTA meets Civil Rule 24(a)(2)’s interest

     requirements based on its continuing interest in a judicial determination of the scope and

     extent of ARRC's underlying railroad easement rights that are central to the Flying Crown

     litigation

              C. No other party adequately represents the interests of MTA, as a telephone

     utility, in this litigation

              An intervenor is "adequately represented" in litigation if the interests of the

     existing parties are broad enough that these parties will no doubt make all of the

     intervenor-applicant's arguments, the present parties are capable of and willing to do so,

     and the intervenor-applicant will not be likely to offer any necessary aspect of the




     38   City of Los Angeles, 288 F.3d at 398.

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proceedings that the other parties would not also offer.39 Although Flying Crown may

align with intervenor-applicant ENSTAR and with applicant MTA in disputing ARRC's

claim to an exclusive-use easement for railroad purposes, neither Flying Crown nor

applicant ENSTAR is able to adequately represent MTA’s unique position as a telephone

utility providing services speci cally recognized in the types of uses stated in the 1914

Easement Act.40

              While ARRC's claim to an "exclusive-use" easement arises under its interpretation

of the 1914 Easement Act, ARRC's assertion of its claimed exclusive right of control is

quite different between Flying Crown, applicant ENSTAR, and MTA. Flying Crown is

not subject to the same "transportation corridor" permit and rent requirements that the

Railroad has imposed on ENSTAR.                            Nor is ENSTAR, although a public utility, a

particular type of public utility ("telephone and telegraph") that was speci cally

recognized and authorized in the 1914 Easement Act.

              Flying Crown is primarily a surface occupant, while ENSTAR may be primarily a

subsurface occupant.          MTA is a surface occupant in some locations within the 1914

Easement. However, MTA also has substantial buried lines and facilities installed under

39   Fresno County v. Andrus, 622 F.2d 436, 439 (9th Cir. 1980).
40Section 1 of the Act of March 12, 1914 (codi ed at 43 U.S.C. §§ 975c and 975d); 38
Stat. 305, repealed by ARTA, Pub. L. 97-468, Title VI, § 615(a)(1).

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     the 1914 Easement, and signi cant engineering reasons to bury these facilities. ARRC is

     assessing exorbitant fees for MTA’s facilities buried under the 1914 Easement. It has also

     actively prevented MTA from burying its facilities even where MTA’s installation will

     both enter and exit the earth outside the 1914 Easement’s exterior limits, claiming in error

     that under the 1914 Easement and ARTA, ARRC has subsurface rights or controls that

     extend beyond and beneath any acknowledged right to subjacent support for its surface

     railroad facilities

                    MTA satis es the required criteria for intervention as a matter of right. It should

     be allowed, by intervention, the opportunity to litigate and defend its signi cant easement

     and property interests on that basis

                    D. Alternatively, MTA should be allowed to intervene by permission

                    In considering a request for permissive intervention under Rule 24(b), courts

     evaluate three conditions: (1) whether the intervenor-applicant’s defense and the main

     action share a common question of law or fact, (2) whether there must be an independent

     ground for jurisdiction over the claims or defenses, and (3) timeliness.41             Permissive

     intervention may be warranted where the intervenor will “signi cantly contribute to the

     41Fed. R. of Civ. P. 24(b)(2); see Freedom from Religion Fund., Inc. v. Geithner, 644 F.3d
     836, 843 (9th Cir. 2011); Beckman Indus. Inc. v. Int'l Ins. Co., 966 F.2d 470, 473 (9th Cir.
     1992)..

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          full development of the underlying factual issues in the suit and to the just and equitable

          adjudication of the legal questions presented.”42

                   As discussed earlier, MTA's request for intervention as of right also squarely

          satis es all necessary conditions for permissive intervention.                In advancing its

          requirement that MTA enter into occupancy agreements and annually pay rents to occupy

          any right-of-way lands reserved under the 1914 Easement Act, ARRC is relying on

          exactly the same interpretation of the federal patent reservations and ARTA transfers that

          it is presently asserting against Flying Crown this case. If MTA is granted the status of a

          permissive intervenor, its presence will not improperly affect the Court’s jurisdiction over

          this case. Further, under the circumstances presently existing at this early stage of the

          case, MTA's permissive intervention will not cause unwarranted prejudice or delay to

          ARRC, to Flying Crown, or to intervenor-applicant ENSTAR. MTA has a unique role as

          a type of public utility speci cally designated to exercise co-occupancy rights under the

          1914 Easement Act. Yet ARRC requires it to apply for permits with annual rentals at

          near-market rates, based on the "exclusive use for railroad purposes" legal theory that it is

          already pressing in litigation against Flying Crown. MTA's intervention will contribute,

          to a signi cant degree, to the broader judicial determination of ARRC's appropriate and

          lawful extent of occupancy and use for railroad purposes under the 1914 Easement Act.

          42   Spangler v. Pasadena City Bd. of Educ., 552 F.2d 1326, 1329 (9th Cir. 1977).
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          1. MTA’s defense raises common questions of law and fact

          The Civil Rules' requirement that the intervenor’s claim or defense must raise a

common question of law or fact is to be liberally construed.43 MTA’s defense against

ARRC's claim of an "exclusive-use" easement for railroad purposes under the 1914

Easement Act and ARTA, and its assessment of very substantial annual rents against an

occupant of the 1914 Easement for telephone purposes, meet that liberal standard

          ARRC's claim to quiet title against Flying Crown on the basis of its occupancy of

the Railroad's claimed "exclusive-use" easement, and its asserted authority to require

MTA to obtain annual permits to occupy the 1914 Easement at expensive rents set by

ARRC, involve the scope and purpose of the original 1914 Easement, which was

reserved in federal patents and then later as conveyed to ARRC through ARTA, after

1982. ARRC's June 3, 2016, letter to MTA elaborates on the same basic legal argument

that it makes in its summary judgment motion in this case.44 ARRC bases its position on

its interpretation of the history of the Alaska Railroad Act of 1914, and particularly the

federal patent exceptions making all land patents subject to the 1914 Act's right-of-way,



43   Stallworth v. Monsanto Co., 558 F.2d 257, 269 (5th Cir. 1977) (citing
Securities & Exchange Comm’n v. U.S. Realty & Imp. Co., 310 U.S. 434, 459 (1940)).


44   Exhibit E to Declaration of Eric Anderson.
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                    through the enactment in 1983 of the Alaska Railroad Transfer Act (ARTA), in which the

                    concept of an "exclusive-use" easement for railroad purposes was rst de ned and made

                    explicit.45

                             There can be no doubt that the same basic questions of law should determine

                    Flying Crown's, ENSTAR's, and MTA's legal rights as against the Railroad. There should

                    be little question but that the scope and purpose of ARRC's claimed "exclusive-use"

                    easement for railroad purposes will be central to the judicial determination of Flying

                    Crown's rights, and of ENSTAR's rights if it is granted intervention, and of MTA's rights

                    as a telephone service provider under the 1914 Easement Act, if it is permitted to

                    intervene

                             Permissive intervention does not require that the property subject to MTA's

                    occupancy and its ARRC-issued annual permits are not coincident with the speci c

                    parcels owned by Flying Crown that are the subject of the Railroad’s existing quiet title

                    action. The grant of permissive intervention does not require any direct, personal interest

                    in the speci c subject of the litigation.46 And even in the context of intervention as a

                    45   See ARTA at 45 U.S.C. §1202(6)
                    46 Securities & Exchange Comm’n, id., 310 U.S. at 459 (noting requirement of common
                    question of law or fact “plainly dispenses with any requirement that the
                    intervenor shall have a direct personal or pecuniary interest in the subject of the
                    litigation")

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matter of right, parties may intervene based on a “practical interest in the outcome of a

particular case,”47 including any stare decisis consequences. 48

          2. Allowing MTA to intervene does not inappropriately enlarge or

impermissibly alter the Court’s jurisdiction

          The Rule's requirement that the intervenor’s claim must have an independent

ground for jurisdiction stems from the “concern that intervention might be used to

enlarge inappropriately the jurisdiction of the district courts.”49    Unlike in asserted

diversity cases, this concern is lessened considerably where the district court’s

jurisdiction is based upon federal question jurisdiction, as asserted here by the plaintiff

itself.50    In the present litigation, ARRC has at the outset pleaded federal question

jurisdiction, based on the nature of its claim to ownership of reserved property interests

contained in federal land patents, and their later conveyance to ARRC under ARTA. To




47   City of Los Angeles, 288 F.3d at 398.
48   Smith v. Pangilinan, 651 F.2d 1320, 1325 (9th Cir. 1981).
49   Freedom from Religion Foundation, 644 F.3d at 843.
50Id. at 844 (“In federal-question cases there should be no problem of jurisdiction with
regard to an intervening defendant . . . .” (quoting 7C Charles Alan Wright, Arthur R.
Miller & Mary Kay Kane, Federal Practice & Procedure § 1917 (3d ed. 2010)).

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      the extent that federal jurisdiction lies for ARRC's claim against Flying Crown, it also lies

      for its easement dispute with MTA

                3. Discretionary factors weigh in favor of intervention

                The Court may consider several factors in determining whether to permit

      intervention, which include the following

                the nature and extent of the intervenors’ interest, their standing to raise relevant
                legal issues, the legal position they seek to advance, and its probable relation to
                the merits of the case[,] ............whether the intervenors’ interests are adequately
                represented by other parties, whether intervention will prolong or unduly delay the
                litigation, and whether parties seeking intervention will signi cantly contribute to
                full development of the underlying factual issues in the suit and to the just and
                equitable adjudication of the legal questions presented.51

      Applying these factors to MTA's proposed intervention, they weigh strongly in favor of

      allowing this proposed defendant to intervene. MTA’s interest is to protect its ratepayers

      and member-owners from the exorbitant annual rental charges that the Railroad is

      demanding pursuant to its erroneous assertion that it holds an "exclusive-use" easement

      solely for railroad purposes under the 1914 Easement Act. MTA does not have an interest

      in the speci c Flying Crown parcels that are the subject of ARRC's quiet title action, but

      MTA's defenses concerning ARRC's claimed easement involve the same basic legal

      question regarding the nature and extent of ARRC’s legitimate easement rights.



      51   Perry v. Schwartzenegger, 630 F.2d 898, 905 (9th Cir. 2011)
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        MTA's interests are not adequately represented by the existing parties. MTA's

operation as a public telephone utility represents a type of use of the 1914 Easement that

neither the existing defendant Flying Crown nor intervenor-applicant ENSTAR

adequately represents.        Further, MTA as a telephone service provider directly refutes

ARRC's claim that the 1914 Easement gave it "exclusive" rights for railroad purposes

within the easement reserved by the 1914 Act, and as transferred to it under ARTA. Thus,

while MTA's interests are directly connected to the assertions made by ARRC against

Flying Crown regarding the legal character and scope of the 1914 Easement, MTA's

unique position as a type of easement user explicitly identi ed by the 1914 Act argues

strongly in favor of its intervention in this lawsuit

        Allowing MTA to intervene as a defendant will enable the Court to resolve, in a

single action, the broader dispute over the Railroad’s claimed "exclusive" easement

interest. Separate actions to determine the rights of various 1914 Easement occupants

such as Flying Crown, ENSTAR and MTA would be an avoidable duplication of

litigation, as well as creating the potential for inconsistent decisions in separate actions,

notwithstanding that the same basic legal questions are involved.

        At this early stage in the present litigation, in which no dispositive motions have

been decided, Flying Crown has sought discovery and ARRC has sought to stay that


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     discovery, MTA's intervention will cause no prejudice to any party, and no undue delay.

     MTA's intervention will lead to a more comprehensive resolution of the dispute over

     ARRC's claims regarding its interests in the 1914 Easement and the ARTA conveyances.

     MTA urges that it be permitted to intervene as a defendant in this action

                                                         III
                                                     CONCLUSION

                  As a telephone service provider throughout much of the "Railbelt" area affected by

     ARRC's easement assertions, MTA has a signi cant interest in the outcome of any

     judicial examination of the Railroad's claim to an "exclusive-use" easement for railroad

     purposes. This claim, which was not asserted to MTA's detriment during MTA’s 30-year

     history with the federal Railroad, has only arisen after enactment of the Alaska Railroad

     Transfer Act. ARRC's attempt to extract from MTA the drastically increased land-use

     permit fees or rentals for the co-location of MTA's telephone facilities relies on the same

     arguments it has asserted against Flying Crown -- i. e., that ARRC's claim of an

     "exclusive-use" easement for railroad purposes under the 1914 Easement Act and ARTA

     give it that right.

                  MTA's motion to intervene is timely. MTA’s particular interests in its use of the

     1914 Easement are not adequately represented by the present defendant, nor by

     defendant-intervenor applicant ENSTAR. MTA's ability to protect its interests in use of

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          the 1914 Easement may be impaired to a substantial degree if it is not permitted to defend

          these interests in this litigation. MTA's motion to intervene raises common questions of

          law and fact, and does not raise jurisdictional barriers

                      For all of these reasons, MTA requests that it be permitted to intervene as a

          defendant in this litigation

                      Dated at Anchorage, Alaska this 2nd day of March, 2021

                                                                /S/ Thomas E. Meacham_______
                                                          Thomas E/ Meacha
                                                          Alaska Bar No. 711103
                                                          Attorney for Proposed Intervenor-Defendan
                                                          Matanuska Telephone Association, Inc

          Certi cate of Servic
          I hereby certify that on March 2, 2021, I led a true and correct copy of the foregoing
          document with the Clerk of Court for the United States District Court – District of Alaska
          by using the CM/ECF system. Participants in Case No. 3:20-cv-00232-JMK who are
          registered CM/ECF users will be served by the CM/ECF system

          By: /S/ Thomas E. Meacham_____
          Thomas E. Meacham, Attorney at La
          Alaska Bar No. 711103




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